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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION

                                 CASE NO. 9:16-cv-81871-KAM

  LAN LI, et. Al.,

         Plaintifs,

  v.

  JOSEPH WALSH, et. al.,

        Defendants.
  _________________________/

                      ORDER GRANTING MOTION TO WITHDRAW AS
                      COUNSEL OF RECORD FOR WALSH DEFENDANT

         THIS MATTER came before the Court upon the Motion to Withdraw as Counsel of Record

  for Walsh Defendants [DE 467] (the “Motion to Withdraw”) filed by Henry B. Handler, Seth

  Kolton, David K. Friedman and the law firm of Weiss, Handler & Cornwell, P.A. (the

  “Withdrawing Counsel”). No response to the Motion has been filed. The Court having considered

  the Motion to Withdraw, and being otherwise fully advised in the premises, it is hereby

         ORDERED AND ADJUDGED as follows:

         1.      The Motion to Withdraw [DE 467] is hereby GRANTED.

         2.      Henry B. Handler, Seth Kolton, David K. Friedman and the law firm of Weiss,

  Handler & Cornwell, P.A. are relived of responsibility for the further representation of the Walsh

  Defendants in this action.




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         3.      Future service of all filings and other papers to the Walsh Defendants shall be by

  mail, in care of Joseph Walsh, 9200 Belvedere Road, Suite 202, Royal Palm Beach, FL 33411.

         DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County, Florida

  this 10th day of June 2019.




                                                             KENNETH A. MARRA
                                                             United States District Judge




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